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                         IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF OKLAHOMA

  1. PINNACLE PERFORMANCE &                              )
  REPAIR, INC., a domestic for profit business           )
  corporation,                                           )
                                                         )     Case No. 19-cv-00183-JHP-JFJ
  2. MICHAEL R. MAYOPOULOS,                              )
  an individual and shareholder of Pinnacle              )
  Performance & Repair, Inc.,                            )     Jury Trial Demanded
                                                         )
  3. KRISTI DYAN MAYOPOULOS,                             )     Attorney Lien Claimed
  an individual and shareholder of Pinnacle              )
  Performance & Repair, Inc.,                            )
                                                         )
         Plaintiffs,                                     )
                                                         )
  vs.                                                    )
                                                         )
  1. THE CITY OF OWASSO,                                 )
  an incorporated municipality and political             )
  subdivision of the State of Oklahoma,                  )
                                                         )
         Defendant.                                      )

                                           COMPLAINT

         COME NOW Pinnacle Performance & Repair, Inc., Michael R. Mayopoulos and Kristi

  Dyan Mayopoulos, Plaintiffs in the above-entitled action, by and through their attorneys, David R.

  Keesling and Timothy S. Kittle, of the law firm, DUNLAP BENNETT & LUDWIG, and for their causes

  of action allege as follows:

                                   JURISDICTION /VENUE /PARTIES

         1.      Jurisdiction in this matter is based upon the existence of a federal question under

  28 U.S.C.A. § 1331 (West 2019), as well as 28 U.S.C.A. § 1343 (West 2019), pursuant to claims

  arising under 42 U.S.C.A. § 1983 (West 2019), as well as 28 U.S.C.A. §§ 2201 and 2202 (West

  2019) regarding the Court’s authority to grant declaratory and injunctive relief.




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         2.      Venue is appropriate as all incidents alleged herein occurred within the Northern

  District of Oklahoma.

         3.      Plaintiff Pinnacle Performance & Repair, Inc. (“Pinnacle”), at all times relevant to

  the claims alleged herein, was and is a domestic for profit business corporation operating in and

  under the laws of the State of Oklahoma.

         4.      Plaintiff Pinnacle Performance & Repair, Inc. (“Pinnacle”), at all times relevant to

  the claims alleged herein, operated and operates its principal business at 109 West First Avenue in

  the City of Owasso, Tulsa County, Oklahoma.

         5.      Plaintiff Michael R. Mayopoulos, at all times relevant to the claims alleged herein,

  was and is a citizen of the State of Oklahoma, and a resident of the City of Owasso, Rogers County,

  Oklahoma.

         6.      Plaintiff Michael R. Mayopoulos, at all times relevant to the claims alleged herein,

  was and is one of two shareholders of Plaintiff Pinnacle Performance & Repair, Inc.

         7.      Plaintiff Kristi Dyan Mayopoulos, at all times relevant to the claims alleged herein,

  was and is a citizen of the State of Oklahoma, and a resident of the City of Owasso, Rogers County,

  Oklahoma.

         8.      Plaintiff Kristi Dyan Mayopoulos, at all times relevant to the claims alleged herein,

  was and is one of two shareholders of Plaintiff Pinnacle Performance & Repair, Inc

         9.      Defendant City of Owasso (“City”), at all times relevant to the claims alleged

  herein, was and is an incorporated municipality governed by charter within the State of Oklahoma.

         10.     Due to the foregoing, this Court has jurisdiction over the parties and subject matter.




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                              PLAINTIFFS’ STATEMENT OF THE FACTS

         11.     Plaintiffs incorporate paragraphs 1 through 10 herein as if fully set forth verbatim.

         12.     On or about December 2010, Plaintiffs purchased the property at 109 West First

  Avenue in the City of Owasso for the express purpose of erecting and operating a “high

  performance” auto repair shop, i.e. Pinnacle Performance & Repair, Inc.

         13.     On or about August 2011, Pinnacle Performance & Repair opened for business.

         14.     On or about December 2012, Plaintiffs purchased a lot adjacent to the Pinnacle

  shop; the second lot now serves as parking for Pinnacle.

         15.     On or about March 2015, Plaintiffs Michael Mayopoulos and Kristi Mayopoulos

  attended an Owasso City Council meeting to voice their concerns with and objections to a proposed

  “Overlay District” plan.

         16.     On or about April 2015, Plaintiffs Michael Mayopoulos and Kristi Mayopoulos

  again attended an Owasso City Council meeting to voice their concerns with and objections to a

  proposed “Overlay District” plan.

         17.     Plaintiffs’ well-founded concerns centered on the stated purposes of the

  “Downtown Overlay District,” which Plaintiffs colorably believed could be construed to truncate

  or eliminate an already lawfully operating business, specifically, Pinnacle Performance & Repair,

  despite the fact that Plaintiffs were already operating a well-established business that comported

  with applicable zoning ordinances. 1



         1
           See generally Owassso Ord. 860.5 and specifically §§ 5.2 (Purpose), 5.4 (Permitted Uses).
  It was due to the “Overlay District” that Plaintiffs were ultimately precluded from erecting a
  second structure on the lot referenced in Paragraph No. 14 above. The “Overlay District,” as
  presented in this section of the Owasso Ordinances, articulates Defendant City’s intent to change
  the character of the area in which Pinnacle has been lawfully operating for years, transforming it
  from an area zoned for commercial /industrial uses to a more “mixed use,” less industrialized
  sector.
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            18.   On or about June 2017, Plaintiffs purchased a Dynamometer machine for their

  shop.

            19.   A Dynamometer machine is a diagnostic tool used for measuring power, torque or

  force produced by an automobile.

            20.   Accordingly, such machines are particularly useful and profitable in shops that

  cater to “high performance” automobiles, shops such as Pinnacle Performance & Repair.

            21.   The acquisition and installation of such a machine requires a substantial financial

  investment by the shop intending to provide the services offered by the Dynamometer machine.

            22.   Plaintiffs expended approximately $25,000.00 for the acquisition and installation

  of the Dynamometer at Pinnacle Performance & Repair.

            23.   Plaintiffs made such a substantial investment in order to meet the needs of its

  existing customers and expand the customer base that can be served at Pinnacle Performance &

  Repair.

            24.   On its own, a Dynamometer machine does not make a sound; rather, it is the

  necessary accelerating of the engine of the automobile that is being diagnosed that is responsible

  for the noise attendant to the repair or maintenance work being done.

            25.   On or about July 2017, Plaintiffs began utilizing the Dynamometer as a part of the

  services offered at Pinnacle.

            26.   On or about November 10, 2017, Plaintiff Michael R. Mayopoulos was cited to

  appear in the City of Owasso Municipal Court for allegedly violating Defendant City’s noise

  ordinance. 2



            2
           According to the Owasso Police Department Incident Report (No. 2017-3037), Plaintiff
  Michael R. Mayopoulos was issued a citation based on the complaint of a citizen, not the personal
  observations of the arresting officer. This would constitute a misdemeanor arrest and would be
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          27.    The charge was subsequently dismissed by then City of Owasso Prosecutor,

  Charles A. “Chuck” Ramsey.

          28.    On or about February 28, 2018, Plaintiff Michael R. Mayopoulos was again cited

  to appear in the City of Owasso Municipal Court for allegedly violating Defendant City’s noise

  ordinance. 3

          29.    Subsequent to this arrest, the charge was ultimately dismissed by City of Owasso

  Municipal Court Judge Michael Hilsabeck, pursuant to a demurrer entered by Plaintiff Michael R.

  Mayopoulos.

          30.    On or about September 18, 2018, a letter from Infinity Investigations and Protective

  Services, by and through private retained counsel of Infinity Investigations and Protective

  Services, was sent to Plaintiffs, alleging that Plaintiffs were violating Owasso City Ordinances,

  Sections 8-310, 10-311 and 10-312, by the use of the Dynamometer machine.

          31.    Further, said letter from Infinity asserted that Plaintiffs “conduct constitutes

  common law nuisance,” and demanded that Plaintiffs take unspecified “steps to mitigate and /or

  otherwise control the sound of the dynamometer . . . [so] that it complies with city code and state

  law.”

          32.    On or about October 18, 2018, and again on or about February 5, 2019, the Owasso

  City Council addressed the matter at its regular council meetings.



  unlawful under 22 OKLA. STAT. ANN. § 196, as it was effected without a warrant and based upon
  incidents or actions committed outside the presence of the arresting officer.
          3
           Similar to the incident described in Paragraph 25 and fn. 2, the Owasso Police Department
  Incident Report of February 28, 2018 (No. 2018-0571) stated that Plaintiff Michael R. Mayopoulos
  was issued a citation based on the complaint of a citizen, not the personal observations of the
  arresting officer. This would constitute a misdemeanor arrest and would be unlawful under 22
  OKLA. STAT. ANN. § 196, as it was effected without a warrant and based upon incidents or actions
  committed outside the presence of the arresting officer.
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          33.    Plaintiffs have, at these settings, submitted their objections to any actions that

  would be taken to declare them in violation of City ordinances by operation of their business,

  particularly via use of the Dynamometer machine.

          34.    On April 2, 2019, Plaintiffs, by and through retained counsel, publicly voiced their

  objections to the proposed Resolution, advising the Council and the public assembled therein of

  several of the allegations contained in this Complaint.

          35.    Nonetheless, on or about April 2, 2019, the Owasso City Council voted to approve

  the passage of Resolution No. 2019-05, declaring Plaintiff Pinnacle Performance & Repair to be a

  nuisance. 4

          36.    Further, said resolution authorized the filling of an action in Tulsa County District

  Court seeking to abate the alleged nuisance.

          37.    Said Resolution cited two specific Owasso City Ordinances which undergird its

  intent to declare Plaintiff Pinnacle Performance & Repair a nuisance subject to abatement: Owasso

  Ord. 8-301 and 8-306. 5




          4
            At the time of this filing, Plaintiffs had not yet received an executed copy of said
  Resolution. Plaintiffs were presented with a copy of the proposed Resolution subsequent to a
  meeting of the Owasso City Council on March 5, 2019. The Council voted 3-2 to table the matter
  of the Resolution until April 2, 2019, pursuant to a request from undersigned counsel for Plaintiffs
  submitted to retained counsel for Defendant City, as undersigned counsel had just been retained
  by Plaintiffs to pursue their interests in the instant matter.
          5
             Owasso Ord. 8-306 contains language that merely states Defendant City’s authority to
  “define and summarily abate nuisances,” pursuant to 50 OKLA. STAT. ANN. § 16 (“Cities and towns
  in this state shall have the right and power to determine what is and what shall constitute a nuisance
  within their respective corporate limits, and for the protection of the public health, the public parks
  and the public water supply, shall have such power outside of the corporate limits; and wherever
  it is practical so to do, said cities and towns shall have the power summarily to abate any such
  nuisance after notice to the owner, and an opportunity for him to be heard, if this can be given”).
  The language of this section is not at issue in this Complaint.
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         38.     The specific language Defendant City cites in its Resolution defining Plaintiffs’

  conduct constituting the alleged nuisance is found under Owasso Ord. 8-301(A)(1), which states:

  “A nuisance is unlawfully doing an act, or omitting to perform a duty, or is any thing or condition

  which either . . . Annoys, injures or endangers the comfort, repose, health or safety of others.”

         39.     The Resolution, as passed, constitutes a formal written policy of Defendant City of

  Owasso.

         40.     Plaintiff Pinnacle lawfully operates in an area of Owasso zoned for such business

  operations, as evidenced by the following similar businesses located within blocks of Pinnacle:

                 a.      Owasso Auto Care, 212 North Main Street (located within 3.5 blocks to the

         north of Pinnacle);

                 b.      B & M Custom Exhaust, 116 West Broadway Street (located one half block

         north from Pinnacle, and a business which provides collateral services to Pinnacle);

                 c.      Earnie’s Automotive Repair, 109 West Second Street (located

         approximately one block to the south of Pinnacle);

                 d.      Foster’s Paint & Body Shop, 105 East Second Avenue (located

         approximately 1.5 blocks to the southeast of Pinnacle);

                 e.      Bruski Autotechnik, 102 South Atlanta Street (located approximately one-

         half block to the southwest of Pinnacle);

                 f.      Thomas Auto Repair & Detailing, 12 North Main Street (located

         approximately one-half block to the northeast of Pinnacle);

                 g.      Transmissions and More, 106 West Third Street (located approximately two

         blocks to the south of Pinnacle).




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         41.     Moreover, during the time period at issue, another auto repair entity, JP Racing,

  LLC, 404 East Second Street (approximately 3 blocks to the northeast of Pinnacle), also operated

  a Dynamometer machine. 6

         42.     Plaintiffs do not operate the Dynamometer machine during hours which would be

  deemed unusual or inherently disturbing, such as overnights, and no such allegations have been

  leveled against Plaintiffs.

         43.     Additionally, the use of the Dynamometer machine is intermittent rather than

  continuous; the most intensive diagnostics only last a few seconds.

         44.     Moreover, due to the “Overlay District” created and imposed by Defendant City

  (referenced above in Paragraphs 15 and 16), Plaintiffs are precluded from erecting a structure on

  the second lot they had purchased (and now use as parking) that may have served to more

  adequately house the Dynamometer machine and minimize the effects of its intermittent noises

  associated with diagnosing automobiles. 7




         6
           Upon information and belief, JP Racing, LLC ceased operations due to a divorce matter
  pertaining to the individual who operated JP Racing. JP Racing was open and operating at least
  from June 2017 to October 2018.
         7
            Notwithstanding this fact, the genesis of the Resolution is comprised of the complaints of
  one area business, as articulated in Paragraph No. 45 herein. The applicable ordinances do not
  provide an objective standard defining what constitutes a noise level that rises to the level of a
  nuisance. Moreover, the complaints did not commence with the installation of the Dynamometer
  machine; Plaintiffs had previously been addressed regarding noises associated with the repair of a
  diesel engine. Such sounds are inherently a part of maintaining and repairing automotive engines,
  and especially the “high performance” types of automobiles that Plaintiffs service in the normal
  course of their business. Even without the presence of the Dynamometer machine, loud noises
  created by “revving” engines have been and will continue to be an integral part of the business
  activities of Pinnacle Performance & Repair.
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         45.     Upon information and belief, the lone source of complaints upon whom Defendant

  City relied to formulate its Resolution is Bill Willson, who is affiliated with Infinity Investigation

  and Protective Services (located at 104 West Broadway Street). 8

         46.     Pinnacle Performance & Repair was in existence and providing services pertaining

  to “high performance” automobiles prior to Infinity Investigation and Protective Services

  occupying the 104 West Broadway Street location.

         47.     Bill Willson is married to Teresa Willson, who is employed by Defendant City of

  Owasso as its Director of Information Technology.

         48.     Thus, the lone complainant regarding the lawful operation of Plaintiff Pinnacle is

  one with a close familial relationship with one who is employed by Defendant City as a Department

  Manager.

         49.     Accordingly, Defendant City has singled out Plaintiffs for this action due to the

  preferences or desires of the spouse of one of Defendant City’s key governmental agents.

         50.     Moreover, the applicable language of the Ordinance cited by the City as defining

  the conduct amounting to a nuisance is impermissibly vague in that it fails to provide people of

  ordinary intelligence a reasonable opportunity to understand what conduct it prohibits.

         51.     Further, the applicable language of the Ordinance cited by the City as defining the

  conduct amounting to a nuisance is impermissibly vague in that it encourages arbitrary and




         8
           See e.g., Art Hadaway, “Longtime feud between two Owasso businesses culminates in
  hearing at City Council,” https://www.tulsaworld.com/communities/owasso/news/longtime-feud-
  between-two-owasso-businesses-culminates-in-hearing-at/article_4989c7d4-23e6-58f3-910d-
  d112ce3b5771.html, Owasso Reporter, Feb. 6, 2019. See also Art Haddaway, “Ongoing feud
  between Owassa, businesses about noise complaint prolonged in City Council,”
  https://www.tulsaworld.com/communities/owasso/news/ongoing-feud-between-owasso-
  businesses-about-noise-complaint-prolonged-in/article_0d531d70-57e0-538c-ba60-
  df9a916db80e.html, Owasso Reporter, March 6, 2019 (last visited March 25, 2019).
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   discriminatory enforcement as it does not provide any specific standards as to what constitutes a

   level of noise (particularly in a district zoned for such businesses) that rises to the level of a

   nuisance.

          52.     Additionally, the applicable language of the Ordinance cited by the City as defining

   the conduct amounting to a nuisance is impermissibly vague in that it encourages arbitrary and

   discriminatory enforcement by impermissibly delegating basic policy matters to police officers,

   judges and juries for resolution on an ad hoc and subjective basis. 9

          53.     Plaintiffs have not used their property in an unreasonable, unwarranted or

   (especially) an unlawful manner, inasmuch as Pinnacle Performance & Repair has been operated

   as a “high performance” auto repair business since 2011, and that pursuant to Defendant City of

   Owasso’s zoning ordinances.

          54.     Accordingly, the manner in which Plaintiffs operate a lawful “high performance”

   auto repair business does not substantially interfere with the ordinary comforts of human existence.

          55.     Consequently, upon information and belief, Defendant City is utilizing the instant

   controversy to further its objectives of transforming the area designated as the “Overlay District”

   away from the commercial and industrial uses under which Plaintiff Pinnacle Performance &

   Repair has been lawfully operating since 2011 – prior to the adoption of the “Overlay District” –

   to a non-industrial, “mixed use” theme by the unconstitutional, inequitable and selective use and

   enforcement of its ordinances against Plaintiffs.




          9
             This fact is illustrated by the treatment by Defendant City’s Prosecutor and Municipal
   Court Judge of the citations issued to (and unlawful arrests of) Plaintiff Michael R. Mayopoulos
   pertaining to the alleged noise created by the lawful use of Plaintiffs’ diagnostic tool. In the first
   instance, the City Prosecutor at the time, Charles A. “Chuck” Ramsey refused to prosecute the
   charge (upon information and belief, Mr. Ramsey was subsequently relieved of his City Prosecutor
   duties). In the second instance, the Municipal Court Judge granted Plaintiff’s demurrer.
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                            CAUSE OF ACTION NUMBER ONE:
                VIOLATION OF DUE PROCESS AND EQUAL PROTECTION OF THE LAWS:
                                       CLASS OF ONE
                                     42 U.S.C.A. § 1983

          56.     Plaintiffs incorporate paragraphs 1 through 55 herein as if fully set forth verbatim.

          57.     Plaintiffs collectively have owned and operated a lawful business at 109 West First

   Avenue in the City of Owasso since 2011.

          58.     The business owned and operated by Plaintiffs, i.e., Pinnacle Performance &

   Repair, operates in an area that is specifically zoned for such businesses by Defendant City of

   Owasso.

          59.     A substantial number of similar businesses have operated and continue to operate

   in the same zoned area as Pinnacle Performance & Repair, including an auto repair business that

   utilized a Dynamometer machine.

          60.     Nonetheless, Plaintiffs have been singled out by Defendant City of Owasso for

   dissimilar and less favorable treatment than similarly situated businesses, specifically via

   Resolution No. 2019-05, which is a written policy by Defendant City.

          61.     Additionally, Plaintiffs have been singled out by Defendant City of Owasso for

   dissimilar and less favorable treatment than similarly situated businesses, specifically via the

   unlawful arrests of Plaintiff Michael R. Mayopoulos.

          62.     The less favorable and dissimilar treatment directed at Plaintiffs is motivated by

   Defendant City serving the purposes and ill will of one of its key agents.

          63.     There is no rational basis for the less favorable and dissimilar treatment of Plaintiffs

   by Defendant City of Owasso.

          64.     The less favorable and dissimilar treatment of Plaintiffs has adversely affected and

   will adversely affect their lawful business.


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           65.     The less favorable and dissimilar treatment of Plaintiffs has caused Plaintiffs to be

   unfairly subjected to an unequal and prejudicial application of the ordinances of Defendant City

   of Owasso.

           66.     The less favorable and dissimilar treatment of Plaintiffs has caused Plaintiffs to be

   unfairly subjected to unwanted publicity and notoriety among the public in the relevant area in

   which Plaintiffs conduct a lawful auto repair business.

           67.     Thus, Plaintiffs’ rights to Due Process and Equal Protection of the laws under the

   Fourteenth Amendment to the United States Constitution have been, and are subject to

   continuously be, violated by Defendant City of Owasso pursuant to its written policy

   pronouncement.

           68.     As a direct and proximate result of the actions by Defendant as described herein,

   Plaintiffs suffered injury.

           69.     Consequently, Plaintiffs are entitled to damages and other relief as set forth herein.


                             CAUSE OF ACTION NUMBER TWO:
                 VIOLATION OF DUE PROCESS AND EQUAL PROTECTION OF THE LAWS:
                               VOID FOR VAGUENESS (AS APPLIED)
                                      42 U.S.C.A. § 1983

           70.     Plaintiffs incorporate paragraphs 1 through 69 herein as if fully set forth verbatim.

           71.     The language of the nuisance ordinance, as cited by Defendant City of Owasso in

   Resolution No. 2019-05, fails to provide people of ordinary intelligence a reasonable opportunity

   to understand what conduct it prohibits, i.e., it contains vague and ill-defined standards regarding

   what violates the ordinance.




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           72.       Further, as applied, the language of said ordinance authorizes or encourages

   arbitrary and discriminatory enforcement, i.e., it impermissibly delegates basic policy matters to

   police officers, judges and juries for resolution on an ad hoc and subjective basis.

           73.       Thus, it invites (and has invited) arbitrary and discriminatory application against

   Plaintiffs.

           74.       Accordingly, Plaintiffs’ rights to Due Process and Equal Protection of the laws

   under the Fourteenth Amendment to the United States Constitution have been, and are subject to

   continuously be, violated by Defendant City of Owasso due to its unlawful and arbitrary

   application of the ordinance against Plaintiffs.

           75.       As a direct and proximate result of the actions by Defendant as described herein,

   Plaintiffs suffered injury.

           76.       Consequently, Plaintiffs are entitled to damages and other relief as set forth herein.

                                          PRAYER FOR RELIEF

           WHEREFORE, Plaintiffs Pinnacle Performance & Repair, Inc., Michael R. Mayopoulos

   and Kristi Dyan Mayopoulos pray this Court will grant to them the following relief:

           A.        Award Plaintiffs all actual damages, economic and non-economic, including those

   emanating from injury to reputation, loss of business, physical pain, mental anguish and emotional

   distress, in an amount exceeding seventy-five thousand dollars ($75,000.00);

           B.        Declare that the ordinance underlying Defendant City of Owasso’s Resolution No.

   2019-05, specifically Owasso Ord. 8-301, is unconstitutionally vague and therefore void;

           C.        Declare that the ordinance underlying Defendant City of Owasso’s Resolution No.

   2019-05, specifically Owasso Ord. 8-301, is unconstitutionally vague, as applied to Plaintiffs, and

   therefore void;



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          D.      Declare that the enforcement of the ordinance underlying Defendant City of

   Owasso’s Resolution No. 2019-05, specifically Owasso Ord. 8-301, against Plaintiffs violates

   Plaintiffs’ rights to Due Process of Law and Equal Protection of the Laws under the Fourteenth

   Amendment to the United States Constitution;

          E.      Declare that Defendant City of Owasso violated the constitutional rights of Plaintiff

   Michael R. Mayopoulos by effecting unlawful arrests against him on or about November 10, 2017

   and February 28, 2018;

          F.      Declare that Resolution No. 2019-05 is a policy of Defendant City of Owasso and

   that said policy is unconstitutional;

          G.      Enjoin Defendant City of Owasso from seeking to enforce the terms of Resolution

   No. 2019-05 against Plaintiffs;

          H.      Award to Plaintiffs attorneys’ fees and costs pursuant to 42 U.S.C.A. § 1988(b) and

   any other applicable provision of law;

          I.      Award to Plaintiffs any other further relief this Court deems just and equitable.


                                                Respectfully submitted,

                                                DUNLAP BENNETT & LUDWIG

                                                /s/ David R. Keesling
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